                      Case 1:20-cv-03460-KBJ Document 40 Filed 03/23/21 Page 1 of 1
CQ!569!)Tgx/!1701;*!!Crrgctcpeg!qh!Eqwpugn


                                      WPKVGF!UVCVGU!FKUVTKEV!EQWTV
                                                            hqt!vjg
                                             Fkuvtkev qh Eqnwodkc
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                          Carter Page                          *
                              Plaintiff                        *
                                 x/                            *      Ecug!Pq/     1:20-cv-03460-KBJ
                     James Comey, et al.                       *
                            Defendant                          *

                                                APPEARANCE OF COUNSEL

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          K!co!cfokvvgf!qt!qvjgtykug!cwvjqtk|gf!vq!rtcevkeg!kp!vjku!eqwtv-!cpf!K!crrgct!kp!vjku!ecug!cu!eqwpugn!hqt<

          James B. Comey                                                                                               /


Fcvg<          03/23/2021                                                                /s/ David N. Kelley
                                                                                         Attorney’s signature


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